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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

JOHN WINSTON FORRESTER, et al.,               §
     Plaintiffs,                              §
                                              §   CIVIL ACTION NO. 6:17CV561
v.                                            §
                                              §   JURY DEMANDED
WOOD COUNTY TEXAS, et al.,                    §
    Defendants.                               §


                         AMENDED DOCKET CONTROL ORDER


       It is hereby ORDERED that the following schedule of deadlines is in effect until

       further order of this Court:


 3 DAYS after                Parties to file Motion to Seal Trial Exhibits, if they wish to
 conclusion of trial         seal any highly confidential exhibits.

                             EXHIBITS: See Order below regarding exhibits.
 March 25, 2019              JURY TRIAL before Judge Robert W. Schroeder III, in
                             Tyler, Texas.

 Court designated date –     For planning purposed, parties shall be prepared to start the
 not flexible without good   evidentiary phase of trial immediately following jury selection.
 cause - Motion Required

 March 18, 2019              9:00 a.m. JURY SELECTION before Judge Robert W.
                             Schroeder III, in Tyler, Texas.
 Court designated date –
 not flexible without good
 cause - Motion Required

 March 5, 2019               10:00 a.m. PRETRIAL CONFERENCE before Judge
                             Robert W. Schroeder III, in Texarkana, Texas.

 Court designated date –     All pending motions will be heard.
 not flexible without good   Lead trial counsel must attend the pretrial conference.
 cause - Motion Required
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February 26, 2019      File a Notice of Time Requested for (1) voir dire, (2)
                       opening statements, (3) direct and cross examinations,
                       and (4) closing arguments.
February 26, 2019      File Responses to Motions in Limine.
February 19, 2019      File Motions in Limine and pretrial objections.

                       The parties are ORDERED to meet and confer to resolve any
                       disputes before filing any motion in limine or objection to
                       pretrial disclosures.
February 19, 2019      File Joint Final Pretrial Order, Joint Proposed Jury
                       Instructions with citation to authority and Form of the
                       Verdict for jury trials.

                       Parties shall use the pretrial order form on Judge Schroeder’s
                       website.

                       Proposed Findings of Fact and Conclusions of Law with
                       citations to authority for issues tried to the bench.
February 12, 2019      Exchange Objections to Rebuttal Deposition Testimony.
February 5, 2019       Notice of Request for Daily Transcript or Real Time
                       Reporting of Court Proceedings due.

                       If a daily transcript or real time reporting of court proceedings
                       is required for trial or hearings, the party or parties making
                       said request shall file a notice with the Court.
February 5, 2019       Exchange Rebuttal Designations            and   Objections    to
                       Deposition Testimony.

                       For rebuttal designations, cross examination line and page
                       numbers to be included.

                       In video depositions, each party is responsible for preparation
                       of the final edited video in accordance with their parties’
                       designation and the Court’s rulings on objections.




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January 23, 2019             Exchange Pretrial Disclosures (Witness List, Deposition
                             Designations, and Exhibit List) by the Party with the Burden
                             of Proof.

                             Video and Stenographic Deposition Designation due. Each
                             party who proposes to offer deposition testimony shall serve
                             a disclosure identifying the line and page numbers to be
                             offered.
January 15, 2019             Any remaining Dispositive Motions due from all parties
                             and any other motions that may require a hearing
Court designated date –      (including Daubert motions).
note flexible without good
cause – Motion Required      Motions shall comply with Local Rule CV-56 and Local Rule
                             CV-7. Motions to exceed page limits will only be granted in
                             exceptional circumstances.

                             For each motion filed, the moving party shall provide the
                             Court with one (1) copy of the completed briefing (opening
                             motion, response, reply, and if applicable, surreply),
                             excluding exhibits, in a three-ring binder appropriately
                             tabbed. All documents SHALL be double-sided and must
                             include the CM/ECF header. These copies shall be delivered
                             to Judge Schroeder’s chambers in Texarkana as soon as
                             briefing has completed.

                             Respond to Amended Pleadings.
January 14, 2019             Parties to Identify Rebuttal Trial Witnesses.
January 7, 2019              Parties to Identify Trial Witnesses; Amend Pleadings.

                             It is not necessary to file a Motion for Leave to Amend before
                             the deadline to amend pleadings. It is necessary to file a
                             Motion for Leave to Amend after the deadline.
December 10, 2018            Discovery Deadline.
November 12, 2018            Document Production Deadline




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 November 12, 2018          Parties designate rebuttal expert witnesses, rebuttal expert
                            witness reports due. Refer to Local Rules for required
                            information.

                            If, without agreement, a party serves a supplemental expert
                            report after the rebuttal expert report deadline has passed,
                            the serving party must file notice with the Court stating
                            service has occurred and the reason why a supplemental
                            report is necessary under the circumstances.
 October 11, 2018           Parties with burden of proof designate expert witnesses.
                            Expert witness reports due. Refer to Local Rules for required
                            information.
 5 Days                     EXPECTED LENGTH OF TRIAL

      In the event that any of these dates fall on a weekend or Court holiday, the deadline
is modified to be the next Court business day.

       The parties are directed to Local Rule CV-7(d), which provides in part that “[a]
party’s failure to oppose a motion in the manner prescribed herein creates a presumption
that the party does not controvert the facts set out by movant and has no evidence to offer
in opposition to the motion.”

      A party may request an oral hearing on a motion filed with the Court. Any such
request shall be included in the text or in a footnote on the first page of the motion or any
responsive pleading thereto. The Court does not hold telephonic hearings absent unusual
circumstances.

                                    Other Limitations

       (a)    The following excuses will not warrant a continuance or justify a failure to
              comply with the discovery deadline:
              (i)   The fact that there are motions for summary judgment or motions to
                    dismiss;
              (ii)  The fact that one or more of the attorneys is set for trial in another
                    court on the same day, unless the other setting was made prior to the
                    date of this order or was made as a special provision for the parties
                    in the other case;
              (iii) The failure to complete discovery prior to trial, unless the parties can
                    demonstrate that it was impossible to complete discovery despite their
                    good faith effort to do so.
       (b)    Amendments to the Docket Control Order ("DCO"): Any motion to alter any
              date on the DCO shall take the form of a motion to amend the DCO. The
              motion shall include a chart in the format of the DCO that lists all of the

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            remaining dates in one column (as above) and the proposed changes to
            each date in an additional adjacent column (if there is no change for a date
            the proposed date column should remain blank or indicate that it is
            unchanged). The motion to amend the DCO shall also include a proposed
            DCO in traditional two-column format that incorporates the requested
            changes and that also lists all remaining dates. In other words, the DCO in
            the proposed order should be complete such that one can clearly see all the
            remaining deadlines rather than needing to also refer to an earlier version of
            the DCO.
     (c)    Motions in Limine: Each side is limited to one (1) motion in limine addressing
            no more than ten (10) disputed issues. In addition, the parties may file a
            joint motion in limine addressing any agreed issues. The Court views
            motions in limine as appropriate for those things that will create the
            proverbial “skunk in the jury box,” e.g., that, if mentioned in front of the jury
            before an evidentiary ruling can be made, would be so prejudicial that the
            Court could not alleviate the prejudice with an appropriate instruction.
            Rulings on motions in limine do not exclude evidence, but prohibit the party
            from offering the disputed testimony prior to obtaining an evidentiary ruling
            during trial.
     (d)    Exhibits: Each side is limited to designating 250 exhibits for trial absent a
            showing of good cause. The parties shall use the exhibit list sample form on
            Judge Schroeder's website.
     (e)    Deposition Designations: Each side is limited to designating no more than
            ten (10) hours of deposition testimony for use at trial absent a showing of
            good cause. As trial approaches, if either side needs to designate more than
            ten (10) hours, the party may file a motion for leave and show good cause.
            All depositions to be read into evidence as part of the parties' case-in-chief
            shall be EDITED so as to exclude all unnecessary, repetitious, and irrelevant
            testimony; ONLY those portions which are relevant to the issues in
            controversy shall be read into evidence.
     (f)    Witness Lists: The parties shall use the witness list sample form on Judge
            Schroeder's website.

     ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

A.   On the first day of trial, each party is required to have:

     (1)    One copy of their respective original exhibits on hand. Each exhibit shall be
            properly labeled with the following information: Identified as either Plaintiff's
            or Defendant's Exhibit, the Exhibit Number and the Case Number.
     (2)    Three hard copies of each party's exhibit list and witness list on hand.
     (3)    One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s).
            This shall be tendered to the Courtroom Deputy at the beginning of trial.



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B.   The parties shall follow the process below to admit exhibits.

     (1)   On the first day of trial, each party shall tender a preadmitted list of exhibits
           it plans to admit into evidence. This list shall include all exhibits which are
           NOT objected to or to which the Court has already overruled an objection.
           To the extent there are exhibits with outstanding objections for which the
           parties need a ruling from the Court, those exhibits should be separately
           included on the list and designated accordingly to reflect a pending objection.
           Parties shall entitle the list "[Plaintiff's/Defendant's] List of Preadmitted
           Exhibits." If, during the course of the day's testimony, a party wishes to offer
           an objected exhibit into evidence, the party may move for admission at the
           time it wishes to use that exhibit with a witness. The Court will then hear the
           opposing party's objection and will rule on the objection at that time.

     (2)   On each subsequent day of trial, the Court will commence by formally
           admitting all of the exhibits that were either unobjected to or allowed over
           objection and used during the previous day's trial. The Court will ask for
           these exhibits to be read into the record and formally admitted into evidence
           at the beginning of that trial day. These will be the exhibits deemed admitted
           at trial. The parties shall keep a separate running list of all exhibits admitted
           throughout the course of trial.

     (3)   At the conclusion of evidence, each party shall read into the record any
           exhibit that was used but not previously admitted during the course of trial
           and then tender its final list of every admitted exhibit, entitled
           "[Plaintiff's/Defendant's] Final List of All Admitted Exhibits." To the extent
           there are exhibits that were not admitted during the course of trial, but for
           which there is agreement that they should be provided to the jury, the parties
           must inform the Court of those exhibits at the conclusion of evidence. The
           Court will then determine whether those exhibits will be allowed into the jury
           room for deliberations.

     C.    At the conclusion of evidence, each party shall be responsible for pulling
           those exhibits admitted at trial and shall tender those to the Courtroom
           Deputy, who will verify the exhibits and tender them to the jury for their
           deliberations. One representative from each side shall meet with the
           Courtroom Deputy to verify the exhibit list.

     D.    At the conclusion of trial, all boxes of exhibits shall be returned to the
           respective parties and the parties are instructed to remove these exhibits
           from the courtroom.

     E.    Within five business days of the conclusion of trial, each party shall submit
           to the Courtroom Deputy:


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         .

             (1)   A Final Exhibit List of Exhibits Admitted During Trial in Word format.

             (2)   Two CDs containing admitted unsealed trial exhibits in PDF format.
                   If the Court ordered any exhibits sealed during trial, the Sealed
                   Exhibits shall be submitted on a separate CD. If tangible or
                   over-sized exhibits were admitted, such exhibits shall be substituted
                   with a photograph in PDF format.
             (3)   A disk containing the transcripts of Video Depositions played during
                   trial, along with a copy of the actual video deposition.




             SIGNED this 13th day of July, 2018.



                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE




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